 Case 2:20-cv-00283-JRG Document 12 Filed 09/22/20 Page 1 of 3 PageID #: 603




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

JAPAN DISPLAY INC. and PANASONIC
LIQUID CRYSTAL DISPLAY CO., LTD.,

                Plaintiffs,                        CIVIL ACTION NO. 2:20-cv-00283-JRG
                   v.
                                                   JURY TRIAL DEMANDED
TIANMA MICROELECTRONICS CO.
LTD.,

                Defendant.


     UNOPPOSED MOTION TO WITHDRAW PREVIOUSLY FILED RETURN OF
   SERVICE FORM AND SUBSTITUTE ATTACHED WAIVER OF SERVICE FORM

       Plaintiffs Japan Display Inc. (“JDI”) and Panasonic Liquid Crystal Display Co., Ltd.

(“PLD”) (collectively “Plaintiffs”) move to withdraw the previously filed Return of Summons in

a Civil Action form (Dkt. No. 11) and substitute the attached Waiver of the Service of Summons

form pursuant to Rule 4 of the Federal Rules of Civil Procedure.

       Plaintiffs’ previous attempted service on September 3, 2020, was made on Tianma

America, Inc., rather than Defendant Tianma Microelectronics Co. Ltd. (“Tianma”), which is a

foreign corporation located outside the United States.         Tianma’s representative contacted

Plaintiffs’ counsel and indicated disagreement with the attempted service via Tianma America,

Inc., but agreed to waive service on Tianma in exchange for a 90-day extension of the date for

filing a responsive pleading pursuant to Federal Rule of Civil Procedure 4(d)(3).

       Accordingly, Plaintiffs respectfully request that the Court disregard the previously filed

Return of Summons in a Civil Action (Dkt. No. 11) and accept the attached Waiver of Service

form. Plaintiffs respectfully request that the court set December 21, 2020, as the date for Tianma’s

responsive pleading (90 days from September 21, 2020). Plaintiffs have contacted Tianma’s

US 7388799
 Case 2:20-cv-00283-JRG Document 12 Filed 09/22/20 Page 2 of 3 PageID #: 604




authorized representative, who indicated Tianma does not oppose this motion. Plaintiffs do not

make this motion for purpose of delay, but for good cause such that the Court is not burdened with

a procedural dispute.


Dated: September 22, 2020                       Respectfully submitted,


                                                /s/ Eric J. Klein
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                                                COUNSEL FOR PLAINTIFFS JAPAN
                                                DISPLAY INC. and PANASONIC LIQUID
                                                CRYSTAL DISPLAY CO., LTD.




US 7388799
 Case 2:20-cv-00283-JRG Document 12 Filed 09/22/20 Page 3 of 3 PageID #: 605




                              CERTIFICATE OF SERVICE

        I hereby certify that on September 22, 2020, a true and correct copy of the foregoing
document was electronically filed in compliance with Local Rule CV-5(a) and was served on all
counsel who are deemed to have consented to electronic service, per Local Rule CV-5(a)(3), as
well as on opposing counsel via email, per Local Rule CV-5(d), at:

       James R. Barney
       James.Barney@finnegan.com

                                               /s/ Eric J. Klein
                                               Eric J. Klein




US 7388799
